Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 1 of 32 Page ID #:1



  1    KAPLAN FOX & KILSHEIMER LLP
       Matthew B. George (SBN 239322)
  2    Blair E. Reed (SBN 316791)
       1999 Harrison Street, Suite 1560
  3    Oakland, CA 94612
       Telephone: 415-772-4700
  4    Facsimile: 415-772-4707
       Email: mgeorge@kaplanfox.com
  5           breed@kaplanfox.com
  6    [Additional Counsel Listed on Signature Page]
  7    Attorneys for Plaintiffs and the Proposed Classes
  8
  9
                          UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11
12     GAEL FIERRO and PATRICK                  Case No. 2:24-cv-00449
13     THURBER, Individually and on
       Behalf of All Others Similarly
14     Situated,                                CLASS ACTION

15                              Plaintiffs,
                                                CLASS ACTION COMPLAINT
16           v.
                                                DEMAND FOR JURY TRIAL
17     NATIONAL ASSOCIATION OF
       REALTORS, THE AGENCY REAL
18     ESTATE FRANCHISING, LLC,
       COMPASS, INC., EXP WORLD
19     HOLDINGS, INC., EXP REALTY OF
       CALIFORNIA, INC., EXP REALTY
20     OF SOUTHERN CALIFORNIA, INC.,
       EXP REALTY OF GREATER LOS
21     ANGELES, INC., EXP REALTY OF
       NORTHERN CALIFORNIA, INC.,
22     BERKSHIRE HATHAWAY, INC.,
       BHH AFFILIATES, LLC, FIRST
23     TEAM REAL ESTATE – ORANGE
       COUNTY, RODEO REALTY, INC.,
24     PINNACLE ESTATE PROPERTIES,
       INC., CALIFORNIA REGIONAL
25     MULTIPLE LISTING SERVICE,
       INC., COMBINED L.A./WESTSIDE
26     MLS, INC., CALIFORNIA
       ASSOCIATION OF REALTORS,
27     INC., GREATER LOS ANGELES
       REALTORS, INC., ARCADIA
28     ASSOCIATION OF REALTORS,
       INCORPORATED, BURBANK
                                                                   Case No. 2:24-cv-00449
                                    CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 2 of 32 Page ID #:2



  1    ASSOCIATION OF REALTORS,
       CITRUS VALLEY ASSOCIATION
  2    OF REALTORS, INC., GLENDALE
       ASSOCIATION OF REALTORS,
  3    INGLEWOOD BOARD OF
       REALTORS, INC., MONTEBELLO
  4    DISTRICT ASSOCIATION OF
       REALTORS, INC., PALOS VERDES
  5    PENINSULA ASSOCIATION OF
       REALTORS, PASADENA-
  6    FOOTHILLS ASSOCIATION OF
       REALTORS, RANCHO SOUTHEAST
  7    REALTORS, SOUTH BAY
       ASSOCIATION OF REALTORS,
  8    INC., SOUTHLAND REGIONAL
       ASSOCIATION OF REALTORS,
  9    INC., TRI-COUNTIES
       ASSOCIATION OF REALTORS,
10     WEST SAN GABRIEL VALLEY
       REALTORS, MALIBU
11     ASSOCIATION OF REALTORS,
       INC., MADERA ASSOCIATION OF
12     REALTORS, FRESNO BOARD OF
       REALTORS, INCORPORATED,
13     MERCED COUNTY ASSOCIATION
       OF REALTORS, INC., and
14     MARIPOSA COUNTY BOARD OF
       REALTORS, INC.,
15
            Defendants.
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                                 Case No. 2:24-cv-00449
                                 CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 3 of 32 Page ID #:3



  1         Gael Fierro and Patrick Thurber (collectively, “Plaintiffs”), bring this action
  2   on behalf of themselves and on behalf of the Classes consisting of all persons who
  3   listed properties on a Multiple Listing Service in the Madera, Fresno, and Los Angeles
  4   Counties in California using a listing agent or broker affiliated with one of the
  5   Defendants named herein and paid a buyer broker commission from four years prior
  6   to the filing of this complaint, until the present (“the Class Period”). In support
  7   thereof, Plaintiffs respectfully allege as follows:
  8                              NATURE OF THE LAWSUIT
  9         1.     Plaintiffs and Class members allege that during the Class Period,
10    Defendants have engaged or collaborated in anticompetitive practices. This
11    conspiracy centers around the enforcement of an anticompetitive restraint that
12    compels home sellers to provide an inflated fee to the broker representing the buyer
13    of their properties, thus violating federal and state antitrust regulations.
14          2.     The creator of the conspiracy is the National Association of Realtors
15    (“NAR”), a trade association for real estate brokers with over 1.5 million individual
16    members. NAR conspired with its largest affiliated associations in California and
17    some of the largest real estate brokerages that worked in California during the Class
18    Period.
19          3.     Defendants include NAR, and the following brokerages: The Agency
20    Real Estate Franchising, LLC, (“The Agency”), Compass, Inc. (“Compass”), eXp
21    World Holdings, Inc. (“eXp”), eXp Realty of California, Inc. (“eXp California”), eXp
22    Realty of Southern California, Inc. (“eXp SoCal”), eXp Realty of Greater Los
23    Angeles, Inc. (“eXp Los Angeles”), eXp Realty of Northern California, Inc. (“eXp”
24    NorCal”), Berkshire Hathaway, Inc. (“Berkshire Hathaway”), BHH Affiliates, LLC
25    (“BHHS”), First Team Real Estate – Orange County (“First Team”), Rodeo Realty,
26    Inc. (“Rodeo Realty”), and Pinnacle Estate Properties, Inc. (“Pinnacle”) (the “Broker
27
28

                                                  1                         Case No. 2:24-cv-00449
                                       CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 4 of 32 Page ID #:4



  1   Defendants”)1. Also included are the named regional Realtor associations and
  2   multiple listing services (“MLS”).
  3         4.     An MLS is a database and platform used by real estate agents and
  4   brokers to share information about properties for sale and find available listings for
  5   prospective buyers.
  6         5.     MLSs act as reservoirs of property listings available for sale in defined
  7   geographic regions, and thus play a pivotal role in the real estate ecosystem. Most
  8   homes in the United States are traded through MLS platforms, where brokers are
  9   often obligated to include all properties. These MLSs are primarily governed by local
10    NAR associations, and access is granted contingent upon broker compliance with
11    NAR’s mandatory regulations outlined in the Handbook on Multiple Listing Policy.
12    This handbook explicitly incorporates the Mandatory Offer of Compensation Rule,
13    which require all home sellers to agree to make a blanket, unilateral and effectively
14    non-negotiable offer of buyer broker compensation when listing a property.
15          A.     NAR’s Regulatory Dominion and Mandatory Offer of
                   Compensation Rule
16
17          6.     NAR, an organization with considerable influence in shaping the real
18    estate landscape, is at the core of the conspiracy.
19          7.     NAR wields its regulatory authority to impose a rule known as the
20    “Mandatory Offer of Compensation Rule.” This rule dictates that every property
21    seller, when listing their home on an MLS affiliated with a local NAR association,
22    must make a sweeping, non-negotiable offer of compensation to buyer brokers. The
23    Defendants, acting in concert with NAR, pressurize or incentivize their franchisees,
24    brokers, and agents to become NAR members and adhere to its regulatory regime.
25    Through this concerted effort, they ensure the implementation and enforcement of
      1
26      Plaintiffs also allege that real estate brokerages Anywhere Real Estate, Inc. (f/k/a
      Realogy Holdings Corp.) (“Anywhere”) and RE/MAX LLC (“RE/MAX”), along
27    with their subsidiaries would be named as defendants in this Complaint, but for the
      recently approved settlement in Sitzer et al v. National Association of Realtors et al,
28    Case No. 4:19-cv-00332-SRB (W.D. Mo.). See November 20, 2023 Order
      Approving Plaintiffs’ Motion for Preliminary Settlements, Dkt. No. 11321.
                                                2                         Case No. 2:24-cv-00449
                                     CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 5 of 32 Page ID #:5



  1   the Mandatory Offer of Compensation Rule.
  2            B.    Stifling Competitive Markets
  3            8.    In many MLSs, NAR compels broker compliance with rules that curtail
  4   competition. Furthermore, each Defendant mandates or encourages their franchisees,
  5   brokerages, and individual realtors to join NAR and implement its anticompetitive
  6   regulations, including the Mandatory Offer of Compensation Rule, as a prerequisite
  7   for enjoying the benefits of Defendants’ branding, brokerage support, and other
  8   resources.
  9            9.    As prominent brokers in California, their involvement in the alleged
10    conspiracy, manifested through the implementation and enforcement of its rules and
11    policies, is indispensable to the conspiracy’s prosperity.
12             10.   These anticompetitive measures favor the Defendants by enabling
13    brokers to impose charges on home sellers beyond competitive thresholds and
14    thwarting competition from innovative or lower-cost alternatives.
15             C.    Home Seller Burden
16             11.   The alleged conspiracy compels home sellers to bear a cost that, in a
17    competitive market and in the absence of the Defendants’ anticompetitive restraint,
18    would typically be borne by the homebuyer.
19             12.   Further, this has led to an industry-recognized practice called “steering,”
20    where homeowners are pressured into accepting inflated or stabilized rates out of fear
21    that buyer brokers will not show their home to prospective buyers.
22             D.    Competitive Imbalance
23             13.   In the absence of NAR’s Mandatory Offer of Compensation Rule, the
24    expense of buyer broker commissions would be incurred by the clients (homebuyers).
25    This would lead to competition among buyer brokers to offer lower commission
26    rates.
27             14.   Consequently, the Mandatory Offer of Compensation Rule stifles price
28    competition among buyer brokers because the actual party retaining the buyer

                                                  3                         Case No. 2:24-cv-00449
                                       CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 6 of 32 Page ID #:6



  1   broker—the homebuyer—doesn’t negotiate or pay the commission for their broker.
  2           E.    Anticompetitive Effects
  3           15.   Adding to the anticompetitive implications of the Mandatory Offer of
  4   Compensation Rule, NAR’s rules also forbid buyer brokers from making home
  5   purchase offers that hinge on reducing the buyer broker’s commission.
  6           16.   The conspiracy has led to various illogical, harmful, and anticompetitive
  7   effects, including: (a) requiring sellers to pay overcharges for services provided by
  8   buyer brokers to the buyer; (b) maintaining, fixing, and stabilizing buyer broker
  9   compensation at levels that would not exist in a competitive market; and (c)
10    promoting steering and actions that hinder innovation and entry by new, lower-cost
11    real estate brokerage service providers.
12            17.   In competitive overseas markets, when homebuyers opt to use a broker,
13    they personally cover the cost, which is less than half of what American buyer
14    brokers receive.
15            18.   As a result, Defendants’ conspiracy has inflated and stabilized buyer
16    broker commissions, resulting in higher total commissions paid by home sellers like
17    Plaintiffs and Class members. Plaintiffs and Class members have each incurred, on
18    average, thousands of dollars in overcharges and damages due to Defendants’ alleged
19    conspiracy.
20            F.    Defendants’ Alleged Roles
21            19.   Defendants leverage their control over MLSs, their agreements with
22    local franchisees and agents, their employee policies, and their active roles within
23    NAR and local realtor associations to compel local residential real estate brokers to
24    comply with NAR’s regulations, including the Mandatory Offer of Compensation
25    Rule.
26            20.   Defendants also play a part in implementing the conspiracy by
27    reviewing NAR’s Rules and consenting to them at annual meetings, and NAR
28    perpetuates the conspiracy by periodically reissuing its Rules, which include the

                                                4                         Case No. 2:24-cv-00449
                                     CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 7 of 32 Page ID #:7



  1   Mandatory Offer of Compensation Rule. Additionally, Defendants are involved in
  2   the conspiracy by serving on boards and committees that oversee compliance with
  3   NAR Rules.
  4          21.   Plaintiffs, on behalf of themselves and the Class, bring this lawsuit
  5   against Defendants for alleged violations of federal and state antitrust laws, seeking
  6   treble damages, injunctive relief, and the costs of this lawsuit, including reasonable
  7   attorneys’ fees.
  8                              JURISDICTION AND VENUE
  9         22.    This Court has subject matter jurisdiction under 28 U.S.C. §1332(d)(2),
10    because the Class defined herein contains more than 100 persons, the aggregate
11    amount in controversy exceeds $5,000,000, and at least one member of the Class is a
12    citizen of a State different from Defendants. Subject matter jurisdiction over this
13    action also exists under 15 U.S.C. § 4 and under 28 U.S.C. §§ 1331, 1337.
14          23.    This Court has personal jurisdiction over Defendants. They have: (1)
15    transacted substantial business in the United States, including in this District; (2)
16    transacted business with members of the Class throughout the United States,
17    including in this District; (3) had substantial contacts with the United States,
18    including in this District; and (4) committed substantial acts in furtherance of their
19    unlawful scheme in the United States, including in this District.
20          24.    Each Defendant has received revenue attributable to business transacted
21    in California and in this District from the brokerage operations of their respective
22    subsidiaries, franchisees, affiliates, and/or transaction counterparts that transact
23    business in California and in this District.
24          25.    Venue is proper in this District under 15 U.S.C. § 22 and under 28
25    U.S.C. §1391 because Defendants do substantial business in this District, have
26    intentionally availed themselves of the laws and markets within this District, a
27    substantial part of the events giving rise to Plaintiffs’ claims arose in this District,
28    and a substantial portion of the affected interstate trade and commerce described

                                                 5                        Case No. 2:24-cv-00449
                                      CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 8 of 32 Page ID #:8



  1   herein has been carried out in this District.
  2         26.    The Mandatory Offer of Compensation Rule and other anticompetitive
  3   rules promulgated by NAR have been extended and enforced by Defendants and their
  4   co-conspirators in interstate commerce, including this District. These rules govern
  5   local NAR associations, local brokers, and local sales agents across the entire nation.
  6   Defendants’ conduct, as alleged, has led to the inflation of buyer broker commissions
  7   nationwide, causing harm to home sellers in numerous regions. Through Defendants,
  8   other NAR members, and additional co-conspirators, NAR conducts business in
  9   interstate commerce, engaging in activities that substantially impact interstate trade
10    within the United States.
11                                          PARTIES
12          A.     Plaintiffs
13          27.    Plaintiff Gael Fierro is a French national and permanent resident of Los
14    Angeles, California. In December 2020, Plaintiff sold his Los Angeles property.
15    Plaintiff used Aspire Los Angeles as the listing agent, and The Agency was the
16    selling agent. Plaintiff paid a $25,650.00 commission to the listing agent, or 3% of
17    the sale price, and a $25,650.00 commission to the buyer’s agent, or 3% of the sale
18    price, for a grand total of $51,300.00.
19          28.    Plaintiff Patrick Thurber was a resident of North Folk, California and is
20    now a citizen and resident of Illinois. In July 2022, Plaintiff sold his Madera County
21    property. Plaintiff used Century 21 Ditton Realty as the listing agent, and Stars and
22    Stripes Real Estate was the selling agent. Plaintiff paid a $13,500.00 commission to
23    the listing agent, or 3% of the sale price, and a $13,500.00 commission to the buyer’s
24    agent, or 3% of the sale price, for a grand total of $27,000.
25          B.     Defendants
26          29.    National Association of Realtors (“NAR”), is a lobbying group that
27    advocates for the interests of real estate brokers, has over 1.5 million individual
28    members from whom it has collected hundreds of millions of dollars in dues and
                                                 6                       Case No. 2:24-cv-00449
                                      CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 9 of 32 Page ID #:9



  1   membership fees, including millions of dollars in dues and membership fees from
  2   NAR members located in this District. NAR oversees state and territorial realtor
  3   associations as well as over 1,200 local realtor associations. NAR is headquartered
  4   in Chicago, Illinois.
  5   Broker Defendants
  6          30.   The Agency Real Estate Franchising, LLC, is globally recognized
  7   boutique real estate brokerage. The Agency is a Delaware company with its
  8   headquarters in Beverly Hills, California. The Agency conducts significant business
  9   throughout the United States and has at least one office in this District.
10           31.   Compass, Inc. is a publicly traded company incorporated in Delaware
11    with its principal place of business in New York. Compass states that is the largest
12    independent real estate brokerage by gross transaction value. Compass transacts
13    significant business throughout the United States and has at least one office in this
14    District.
15           32.   eXp World Holdings, Inc. is a publicly traded company incorporated in
16    Delaware with its principal place of business in Bellingham, Washington. Upon
17    information and belief, eXp offers most of its real estate brokerage services through
18    the name eXp Realty and its regional subsidiaries, including eXp California, eXp
19    SoCal, eXp NorCal, and eXp Los Angeles. eXp has brokerages throughout the United
20    States and at least one office in this District. eXp transacts significant business
21    throughout the United States and has at least one office in this District.
22           33.   eXp Realty of California, Inc. is a Washington corporation with its
23    principal place of business in Bellingham, Washington. eXp California transacts
24    significant business throughout the United States and this District.
25           34.   eXp Realty of Southern California, Inc. is a Delaware corporation with
26    its principal place of business in San Diego, California. eXp SoCal transacts
27    significant business throughout the United States and this District.
28           35.   eXp Realty of Greater Los Angeles, Inc. is a Delaware corporation with
                                                7                         Case No. 2:24-cv-00449
                                     CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 10 of 32 Page ID #:10



   1   its principal place of business in Burbank, California. eXp Los Angeles transacts
   2   significant business throughout the United States and this District.
   3          36.    eXp Realty of Northern California, Inc. is a Delaware corporation with
   4   its principal place of business in Roseville California. eXp NorCal transacts
   5   significant business throughout the United States and California.
   6          37.    Berkshire Hathaway, Inc. is a publicly traded company incorporated in
   7   Delaware, with its headquarters in Nebraska. Upon information and belief, Berkshire
   8   Hathaway offers its real estate brokerage services through its subsidiary, BHHS.
   9   Berkshire Hathaway transacts significant business throughout the United States and
  10   has at least one office in this District.
  11          38.    BHH Affiliates, LLC, operates as Berkshire Hathaway Home Services
  12   and is a Delaware corporation with headquarters in Irvine, California. BHHS
  13   transacts significant business throughout the United States and this District.
  14          39.    First Team Real Estate – Orange County has been trusted to represent
  15   over 250,000 home buyers and sellers as the largest privately held family-owned
  16   company in Southern California. First Team is a California corporation with its
  17   headquarters in California. First Team transacts significant business throughout
  18   California and this District.
  19          40.    Rodeo Realty, Inc. is a California corporation with its headquarters in
  20   Beverly Hills, California. Rodeo Realty states that is a residential real estate firm that
  21   has more than 1,200 licensed agents and brokers and 12 offices throughout Los
  22   Angeles and Ventura counties. Rodeo Realty transacts significant business
  23   throughout California and this District.
  24          41.    Pinnacle Estate Properties, Inc. reports that it is the largest independent
  25   real estate firm with the most units sold in Los Angeles County. Pinnacle is a
  26   California corporation with its headquarters in Porter Ranch, California. Pinnacle
  27   transacts significant business throughout California and this District.
  28

                                                   8                         Case No. 2:24-cv-00449
                                        CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 11 of 32 Page ID #:11



   1   Regional Association and MLS Defendants
   2          42.   California Regional Multiple Listing Service, Inc. (“CRMLS”) states
   3   that it is the nation’s largest and most recognized subscriber-based multiple listing
   4   service. CRMLS states that it serves more than 110,000 real estate professionals from
   5   41 Associations, Boards, and MLS organizations, including those in this District.
   6   CRMLS is a California nonprofit mutual benefit corporation headquartered in Chino
   7   Hills, California.
   8          43.   Combined L.A./Westside MLS, Inc. (“CLAW”) states that it is a leading
   9   multiple listing service that serves over 16,000 agents and brokers in Southern
  10   California, from Downtown Los Angeles to Pacific Coast Highway. CLAW is a
  11   California corporation with headquarters in Beverly Hills, California.
  12          44.   California Association of Realtors, Inc. (“California AOR”) is
  13   headquartered in Los Angeles, California and serves realtors throughout the state of
  14   California. California AOR is an NAR affiliate.
  15          45.   Greater Los Angeles Realtors, Inc. (“Los Angeles AOR”) is
  16   headquartered in Culver City, California and serves realtors in the Los Angeles area.
  17   Los Angeles AOR is an NAR affiliate.
  18          46.   Arcadia Association of Realtors, Incorporated (“Arcadia AOR”) is
  19   headquartered in Arcadia, California and serves realtors in the Arcadia and San
  20   Gabriel Valley, California areas. Arcadia AOR is an NAR affiliate.
  21          47.   Burbank Association of Realtors (“Burbank AOR”) is headquartered in
  22   Burbank, California and serves the realtors in the area. Burbank AOR is an NAR
  23   affiliate.
  24          48.   Citrus Valley Association of Realtors, Inc. (“Citrus Valley AOR”) is
  25   headquartered in Glendora, California and serves the realtors in the area. Citrus
  26   Valley AOR is an NAR affiliate.
  27          49.   Glendale Association of Realtors (“Glendale AOR”) is headquartered in
  28   Glendale, California and serves the realtors in the area. Glendale AOR is an NAR
                                                9                        Case No. 2:24-cv-00449
                                     CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 12 of 32 Page ID #:12



   1   affiliate.
   2          50.   Inglewood Board of Realtors, Inc. (“Inglewood BOR”) is headquartered
   3   in Inglewood, California and serves the realtors in the area. Inglewood BOR is an
   4   NAR affiliate.
   5          51.   Montebello District Association of Realtors, Inc. (“Montebello AOR”)
   6   is headquartered in Montebello, California and serves the realtors in the area.
   7   Montebello AOR is an NAR affiliate.
   8          52.   Palos Verdes Peninsula Association of Realtors (“Palos Verdes AOR”)
   9   is headquartered in Rolling Hills Estates, California and serves the realtors in the
  10   area. Palos Verdes AOR is an NAR affiliate.
  11          53.   Pasadena-Foothills Association of Realtors (“Pasadena AOR”) is
  12   headquartered in Pasadena, California and serves the realtors in the area. Pasadena
  13   AOR is an NAR affiliate.
  14          54.   Rancho Southeast Realtors (“Rancho AOR”) is headquartered in
  15   Cerritos, California and serves the realtors in the area. Rancho AOR is an NAR
  16   affiliate.
  17          55.   South Bay Association of Realtors, Inc. (“South Bay AOR”) is
  18   headquartered in Torrance, California and serves the realtors in the area. South Bay
  19   AOR is an NAR affiliate.
  20          56.   Southland Regional Association of Realtors, Inc. (“Southland Regional
  21   AOR”) is headquartered in Lake Balboa, California and serves realtors in the San
  22   Fernando Valley area. Southland Regional AOR is an NAR affiliate.
  23          57.   Tri-Counties Association of Realtors (“Tri-Counties AOR”) is
  24   headquartered in Walnut, California and serves realtors in the area. Tri-Counties
  25   AOR is an NAR affiliate.
  26          58.   West San Gabriel Valley Realtors (“San Gabriel AOR”) is
  27   headquartered in San Gabriel, California and serves realtors in the area. San Gabriel
  28   AOR is an NAR affiliate.
                                               10                        Case No. 2:24-cv-00449
                                     CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 13 of 32 Page ID #:13



   1         59.    Malibu Association of Realtors, Inc. (“Malibu AOR”) is headquartered
   2   in Malibu, California and serves realtors in the area. Malibu AOR is an NAR affiliate.
   3         60.    Southwest Los Angeles Association of Realtors (“Los Angeles
   4   Southwest AOR”) is headquartered in Los Angeles, California and serves realtors
   5   throughout Los Angeles. Los Angeles Southwest AOR is an NAR affiliate.
   6         61.    Madera Association of Realtors (“Madera AOR”) is headquartered in
   7   Madera, California and serves realtors throughout Madera County. Madera AOR is
   8   an NAR affiliate.
   9         62.    Fresno Board of Realtors, Incorporated (“Fresno AOR”) is
  10   headquartered in Fresno, California and serves realtors throughout Fresno County.
  11   Fresno AOR is an NAR affiliate.
  12         63.    Merced County Association of Realtors, Inc. (“Merced AOR”) is
  13   headquartered in Merced, California and serves realtors throughout Merced County.
  14   Merced AOR is an NAR affiliate.
  15         64.    Mariposa County Board of Realtors, Inc. (“Mariposa BOR”) is
  16   headquartered in Mariposa, California and serves realtors throughout Mariposa
  17   County. Mariposa BOR is an NAR affiliate.
  18                                           FACTS
  19         A.     Real Estate Market in California
  20         65.    Most states, including California, have licensing laws that regulate who
  21   can represent buyers and sellers in real estate transactions. In 2022, approximately
  22   86% of home sellers and buyers in the United States utilized the services of real estate
  23   brokers.2 These regulations classify real estate professionals into two primary
  24   categories: (1) real estate brokers, often referred to as “brokerage firms,” and (2)
  25   individual real estate licensees or agents. These brokers license and assume legal
  26   responsibility for the actions of individual real estate realtors or agents.
  27
       2
  28    See https://www.nar.realtor/research-and-statistics/quick-real-estate-statistics (last
       visited Jan. 17, 2024).
                                                 11                          Case No. 2:24-cv-00449
                                       CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 14 of 32 Page ID #:14



   1             66.   In California, only licensed brokers are authorized to receive
   2   compensation for representing home buyers or sellers in real estate transactions.
   3   Consequently, all real estate brokerage contracts must be established with brokers,
   4   not agents, and payments to individual agents or realtors are routed through brokers.
   5   Many brokers, along with their respective agents, often operate in dual roles, acting
   6   as seller brokers for some property sales and as buyer brokers for others.
   7             67.   In standard residential real estate transactions, brokers and agents
   8   receive compensation in the form of commissions, calculated as a percentage of the
   9   property’s sale price, with the payment being realized upon the sale’s completion.
  10             68.   Compensation for seller brokers is stipulated in a listing agreement, a
  11   contract signed between the seller and the seller broker. This agreement outlines the
  12   listing terms and often grants the seller broker exclusive marketing rights to the
  13   property. The listing agreement also specifies the total commission to be paid by the
  14   seller.
  15             69.   When a buyer engages a broker’s services, they typically enter into a
  16   contract with that broker. If a buyer retains a broker, the seller remits the buyer
  17   broker’s compensation. Historically, NAR’s Code of Ethics espoused a conduct
  18   standard that falsely suggested to buyers that their agent’s services are provided at
  19   no cost.
  20             70.   The net effect of these agreements and the Mandatory Offer of
  21   Compensation Rule is that buyer brokers, who are tasked with representing the
  22   buyers’ interests against the sellers, receive their compensation from the overall
  23   commission paid by the seller, not from the buyers they represent. This has led to
  24   significant confusion regarding the functioning of commissions within the real estate
  25   market such that many sellers do not understand how and why they are paying the
  26   buyer’s agent a 3% commission.
  27             71.   Without the Mandatory Offer of Compensation Rule and in a
  28   competitive market context (where sellers have no incentive to compensate a buyer

                                                  12                       Case No. 2:24-cv-00449
                                        CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 15 of 32 Page ID #:15



   1   broker who works against their interests), buyers would directly pay their brokers.
   2   Sellers, in turn, would exclusively pay a commission to their seller broker.
   3   Consequently, the seller’s total broker commission would amount to approximately
   4   half or less of the customary commission paid to remunerate both their seller broker
   5   and the buyer’s broker, who is advocating for the buyer’s interests.
   6         B.     Role of Multiple Listing Services (MLSs) and the Mandatory Offer
                    of Compensation Rule
   7
   8         72.    MLSs serve as central repositories for available properties within
   9   specific geographic areas, offering access to real estate brokers and their affiliated
  10   realtors or agents who adhere to MLS regulations. Many MLSs are owned and
  11   managed by local realtor associations, which are members of NAR.
  12         73.    Several MLSs exist in California,3 many of which have the same
  13   Mandatory Offer of Compensation Rule set forth by NAR.
  14         74.    For example, CRMLS effectively adopts NAR’s Mandatory Offer of
  15   Compensation Rule vis-à-vis CRMLS Rule 17.15(a) which states that: “In placing a
  16   listing with the AOR/MLS…the Broker Participant makes a blanket unilateral
  17   contractual offer of compensation to the other MLS Broker Participants for their
  18   services in selling the property.”4
  19         75.    Likewise, CLAW states in its rules, under the “Purpose” section that
  20   “[a] Multiple Listing Service is a means by which authorized MLS Broker
  21   participants establish legal relationships with other participants by making a blanket
  22   unilateral contractual offer of compensation and cooperation to other Broker
  23   participants[.]”5 CLAW Rule 7.16 also states that “[i]n filing a listing with the
  24   AOR/MLS, the Broker Participant makes a blanket unilateral contractual offer of
  25   3
         See https://mlsimport.com/multiple-listing-services-mls-in-california/ (last visited
  26   January 17, 2024); see also https://showcaseidx.com/complete-list-of-multiple-
       listing-services/ (last visited January 17, 2024).
       4
  27     See https://go.crmls.org/crmls-rules-and-policies/ (last visited January 17, 2024).
       5
         See https://forms.themls.com/forms/compliance_manual/CLAW-Rules-and-
  28   Regs.pdf (last visited Jan. 17, 2024).
                                                                Footnote continued on next page
                                                 13                       Case No. 2:24-cv-00449
                                       CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 16 of 32 Page ID #:16



   1   compensation to the other MLS Broker Participants for their services in selling the
   2   property.”6
   3             76.   NAR regulations mandate that seller brokers must list their clients’
   4   properties on an MLS. Notably, the failure to list a client’s property on an MLS
   5   results in diminished visibility for that property, as it is less likely to be presented to
   6   potential buyers by buyer brokers.
   7             77.   The Mandatory Offer of Compensation Rule imposes an obligation on
   8   seller brokers, acting on behalf of their clients, to make a comprehensive, non-
   9   negotiable offer of compensation to buyer brokers whenever they list a property on
  10   an MLS affiliated with a local NAR association. In the event that a buyer, who is
  11   represented by a broker, ultimately purchases the property, the buyer broker is
  12   entitled to the offered compensation.
  13             C.    Anticompetitive NAR Rules
  14             78.   NAR introduced the Mandatory Offer of Compensation Rule in 1996,
  15   incorporating it into the Handbook on Multiple Listing Policy. This rule has remained
  16   in effect since its inception.
  17             79.   Before the adoption of the Mandatory Offer of Compensation Rule in
  18   1996, upon information and belief, NAR played a central role in structuring,
  19   implementing, and enforcing a similar and equally flawed market structure. Under
  20   this system of sub-agency, brokers representing buyers were legally obligated to act
  21   in the interest of sellers, even when primarily working with buyers. As a result, the
  22   practice of sellers compensating both their selling broker and the buyer’s broker
  23   persisted.
  24             80.   The inefficiency and confusion inherent in this sub-agency system
  25   ultimately led to its collapse when widely exposed in the media.
  26             81.   Following the collapse of the sub-agency system, NAR and its co-
  27   conspirators devised and enforced an anticompetitive scheme aimed at perpetuating
  28   6
           Id.
                                                  14                          Case No. 2:24-cv-00449
                                        CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 17 of 32 Page ID #:17



   1   supra-competitive commissions, impeding innovation, and hindering lower-priced
   2   competition. This was accomplished through the Mandatory Offer of Compensation
   3   Rule, officially adopted in November 1996.
   4         82.    NAR’s Board of Directors and associated committees periodically
   5   evaluate and revise the policies in the Handbook. The Mandatory Offer of
   6   Compensation Rule has been retained despite criticism from economists and industry
   7   experts, who argue that the rule contributes to anticompetitive market conditions and
   8   inflated commission rates.
   9         83.    Defendants have actively participated in this anticompetitive scheme by
  10   agreeing to follow, promote, and implement the Mandatory Offer of Compensation
  11   Rule. These actions have established an environment that perpetuates high
  12   commissions and restricts market competition. Indeed, in the Inman Survey (2014),
  13   56% of agents reported that their brokerages require a minimum total commission
  14   level to list homes for sellers and brokerages specify a minimum commission rate
  15   that must be offered to buyer agents when the brokerages represent the seller.
  16         84.    Furthermore, NAR has invited Defendants and other co-conspirators to
  17   join an agreement, whereby participation in the MLS system is contingent upon
  18   compliance with anticompetitive restraints set forth in the Handbook. Regardless of
  19   their initial involvement in drafting or adopting the Mandatory Offer of
  20   Compensation Rule, Defendants have since joined the conspiracy and committed to
  21   upholding and enforcing the rule.
  22         85.    The Handbook explicitly states the Mandatory Offer of Compensation
  23   Rule, requiring participants to make unilateral compensation offers when filing
  24   properties with an MLS. The Handbook also stipulates that MLSs should not publish
  25   listings that do not include compensation offers or invitations for participants to
  26   discuss cooperative relationships.
  27         86.    The Mandatory Offer of Compensation Rule transfers a cost that would
  28   ordinarily be paid by the buyer, in a competitive market, to the seller. Home sellers

                                               15                        Case No. 2:24-cv-00449
                                     CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 18 of 32 Page ID #:18



   1   effectively become obligated to hire a buyer broker if they want to list their property
   2   on an MLS. The system violates antitrust laws by keeping buying agents
   3   compensated despite offering limited services. Indeed, in the age of the internet
   4   where a buyer is able to search and locate their next house on their computer or
   5   smartphone without the assistance of a real estate agent—and they often do just
   6   that—a competitive market should have forced lower buyer broker commissions as
   7   a reflection of the decreasing need for their services.
   8          87.    In their efforts to steer clients towards homes offering higher
   9   commissions, buyer brokers utilize the offered compensation amounts. This steering
  10   practice is confirmed by economic literature and has clear anticompetitive effects,
  11   making it difficult for brokers to compete based solely on the services they provide
  12   to clients.
  13          88.    Defendants and other co-conspirators also employ technology to
  14   facilitate steering based on MLS commission information.
  15          D.     Defendants’ Participation in the Conspiracy
  16          89.    Defendants, in collaboration with NAR, have actively supported,
  17   implemented, and enforced the Mandatory Offer of Compensation Rule. They have
  18   required their franchisees, brokers, agents, and employees to comply with NAR rules,
  19   including the Mandatory Offer of Compensation Rule.
  20          90.    Therefore, Defendants and their franchisees, along with their agents,
  21   have furthered the conspiracy by agreeing to implement, follow, and enforce NAR’s
  22   rules, including the Mandatory Offer of Compensation Rule.
  23          E.     Effects of the Conspiracy
  24          91.    The conspiracy led by Defendants and NAR have had several
  25   anticompetitive effects in California, including:
  26       Inflated Costs and Compelled High Commissions for Home Sellers: The
  27        Defendants’ conspiracy in California has resulted in inflated costs for home
            sellers. They are compelled to pay commissions to buyer brokers who,
  28
            paradoxically, represent their adversaries in property negotiations. This
                                                16                        Case No. 2:24-cv-00449
                                      CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 19 of 32 Page ID #:19



   1          practice also compels home sellers to set high buyer broker commissions,
   2          which in turn diminishes their control over expenses and market
              competitiveness.
   3
   4        Payment of Inflated Commissions and Price Competition Restraint: The
             conspiracy perpetuates the payment of inflated buyer broker commissions and
   5         total commissions by home sellers, reducing the financial benefit sellers derive
   6         from property transactions. This anticompetitive conduct significantly
             restrains price competition among brokers in California. Both buyers seeking
   7         to retain broker services and sellers seeking to list their properties find their
   8         choices constrained by this manipulative environment.
   9        Separation of Buyer Broker Retention and Commission Setting: The
  10         conspiracy has effectively separated the retention of buyer brokers from the
             setting of broker commissions. In this distorted system, the home buyer now
  11
             directly retains the services of a buyer broker, while the seller’s agent
  12         determines the compensation for the buyer broker, exacerbating inefficiencies
             within the market.
  13
  14          92.   There are no pro-competitive effects stemming from the conspiracy,
  15   which is unequivocally anticompetitive and detrimental to the competitive landscape.
  16   And any alleged pro-competitive benefits within the MLS system do not justify the
  17   Mandatory Offer of Compensation Rule, as they are substantially outweighed by its
  18   anticompetitive effects including restraining price competition and encouraging
  19   steering.
  20          93.   Comprehensive economic evidence supports the notion that the
  21   conspiracy has resulted in inflated total commissions and buyer broker commissions
  22   paid by home sellers, far exceeding what a competitive market would dictate.
  23          94.   In comparison to other countries with competitive real estate markets,
  24   commission rates in the United States are significantly higher, including in California
  25   where the average commission falls between 5-6%.7 This high commission rate
  26   prevails in the face of the realities of modern home buying where many buyers find
  27
       7
  28    See https://www.fastexpert.com/blog/real-estate-commission-rate-in-california/
       (last visited Jan. 17, 2024).
                                                17                         Case No. 2:24-cv-00449
                                      CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 20 of 32 Page ID #:20



   1   by themselves the homes they ultimately purchase on the internet, a fact that should
   2   have radically driven down the cost of a buyer’s agent’s fee. Nonetheless, a large
   3   majority (73%) of agents say they will not negotiate their commissions, a stance that
   4   would be untenable in a competitive market.8
   5          F.     Defendants’ Market Power in Relevant California Counties
   6          95.    The relevant market for the claims herein is the bundle of services
   7   provided to home buyers and sellers by residential real estate brokers with access to
   8   MLSs. Defendants’ control of MLSs allows them to impose anticompetitive NAR
   9   rules on Class members and other market participants.
  10          96.    The relevant geographic market for the claims are the following
  11   California counties: Madera County, Fresno County, Merced County, and Mariposa
  12   County (the “Central Counties”); and Los Angeles County. The vast majority of
  13   homes sold in these counties were listed on MLSs by brokers subject to NAR
  14   regulations, including the Mandatory Offer of Compensation Rule or its functional
  15   equivalent.
  16          97.    Defendants and their co-conspirators collectively possess significant
  17   market power within each relevant market. Their influence is achieved through their
  18   participation and control over local MLSs and their substantial share of the local
  19   market.
  20          98.    Non-conspiring brokers who aim to compete outside the conspiracy face
  21   insurmountable barriers:
  22        Access to MLSs is essential for brokers to effectively serve buyers and sellers
  23         in the market.
  24        An alternative listing service aiming to compete with an MLS would require
             listings that are as comprehensive as an MLS, but brokers within the
  25         conspiracy lack the incentive to participate in such a service.
  26        Home buyers and sellers would be reluctant to utilize a new alternative listing
  27         service without a proven track record.
       8
  28    See https://www.cnbc.com/2019/10/30/realtor-commissions-are-not-
       negotiable.html (last visited Jan. 17, 2024).
                                                18                       Case No. 2:24-cv-00449
                                      CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 21 of 32 Page ID #:21



   1       NAR advises MLSs to enter into non-compete agreements with third-party
   2        websites.
   3          G.    Continuous Accrual
   4          99.   Over the course of the last four years leading up to the filing of this
   5   Complaint, Defendants, in collaboration with brokers operating within MLS-covered
   6   regions, systematically applied and received buyer broker commissions and total
   7   commissions at inflated rates, all due to their ongoing conspiracy. During this
   8   timeframe, Plaintiffs and other members of the Class were obliged to remit these
   9   inflated commissions in conjunction with the sale of residential real estate listed on
  10   MLSs. Each such payment over the past four years resulted in harm to Plaintiffs and
  11   their fellow Class members, giving rise to new causes of action stemming from these
  12   injuries.
  13          100. Throughout the preceding four years, Defendants, alongside their co-
  14   conspirators, have consistently upheld, executed, and enforced the Mandatory Offer
  15   of Compensation Rule and various other anticompetitive NAR directives on a
  16   nationwide scale.
  17                           CLASS ACTION ALLEGATIONS
  18          101. Plaintiff Fierro brings this action on behalf of himself, and as a class
  19   action under Federal Rule of Civil Procedure 23(a) and (b)(3), on behalf of the
  20   members of the Class defined as:
  21                All persons in Los Angeles County who, from January 17,
                    2020, through the present, used any Defendant or their
  22                affiliates as the listing broker in the sale of a property listed
                    on an MLS, and who paid a commission to the buyer’s
  23                broker in connection with the sale of the property (the
                    “Los Angeles County Class”).
  24
  25          102. Excluded from the Class are Defendants, their officers, directors and
  26   employees; any entity in which Defendant has a controlling interest; and any affiliate,
  27   legal representative, heir or assign of any Defendant. Also excluded from the Class are
  28   any judicial officer(s) presiding over this action and the members of his/her/their

                                                 19                           Case No. 2:24-cv-00449
                                       CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 22 of 32 Page ID #:22



   1   immediate family and judicial staff, jurors, and Plaintiffs’ counsel and employees of
   2   their law firms.
   3         103. Plaintiff Thurber brings this action on behalf of himself, and as a class
   4   action under Federal Rule of Civil Procedure 23(a) and (b)(3), on behalf of the
   5   members of the Class defined as:
   6                All persons in the Central Counties, who, from January 17,
                    2020, through the present, used any Defendant or their
   7                affiliates as the listing broker in the sale of a property listed
                    on an MLS, and who paid a commission to the buyer’s
   8                broker in connection with the sale of the property (the
                    “Central Counties Class”).
   9
  10         104. Excluded from the Class are Defendants, their officers, directors and
  11   employees; any entity in which Defendant has a controlling interest; and any affiliate,
  12   legal representative, heir or assign of any Defendant. Also excluded from the Class are
  13   any judicial officer(s) presiding over this action and the members of his/her/their
  14   immediate family and judicial staff, jurors, and Plaintiffs’ counsel and employees of
  15   their law firms.
  16         105. The Classes are readily ascertainable because records of the relevant
  17   transactions exist.
  18         106. Class members are so numerous that individual joinder of all its
  19   members is impracticable. Due to the nature of the trade and commerce involved,
  20   Plaintiffs believe that the Classes have many thousands of members, the exact
  21   number and their identities being known to Defendants and their co-conspirators.
  22         107. Plaintiffs will fairly and adequately protect the interests of the members
  23   of the Classes. Plaintiffs’ interests are aligned with, and not antagonistic to, those of
  24   the other members of the Class.
  25         108. Common questions of law and fact exist as to all members of the Classes
  26   and predominate over any question affecting only individual Class members. These
  27   common legal and factual questions, each of which also may be certified under Rule
  28   23(c)(4), include but are not limited to the following:

                                                 20                           Case No. 2:24-cv-00449
                                       CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 23 of 32 Page ID #:23



   1                a.       Whether Defendants engaged in the alleged conspiracy;
   2                b.       Whether the conduct of Defendants’ and their co-conspirators
   3                         caused injury to the business or property of Plaintiffs and the
   4                         other members of the Classes;
   5                c.       Whether the effect of Defendants’ conspiracy was to inflate
   6                         both total commissions and buyer broker commissions;
   7                d.       Whether the competitive harm from the conspiracy substantially
   8                         outweighs any competitive benefits;
   9                e.       Whether Defendants’ conduct is unlawful; and
  10                f.       The appropriate class-wide measures of damages.
  11         109. Plaintiffs’ claims are typical of the claims of the members of the Classes
  12   because their claims arise from the same course of conduct by Defendants and the
  13   relief sought within the Classes is common to each member.
  14         110. Plaintiffs have retained counsel competent and experienced in the
  15   prosecution of antitrust class action litigation to represent themselves and the Classes.
  16   Together Plaintiffs and their counsel intend to prosecute this action vigorously for
  17   the benefit of the Classes. The interests of Class members will be fairly and
  18   adequately protected by Plaintiffs and their counsel.
  19         111. A class action is superior to other available methods for the fair and
  20   efficient adjudication of this controversy. The prosecution of separate actions by
  21   individual members of the Classes would impose heavy burdens on the Court and
  22   Defendants, and would create a risk of inconsistent or varying adjudications of the
  23   questions of law and fact common to the Classes. A class action, on the other hand,
  24   would achieve substantial economies of time, effort, and expense, and would assure
  25   uniformity of decision as to persons similarly situated without sacrificing procedural
  26   fairness or bringing about other undesirable results. Absent a class action, it would
  27   not be feasible for the members of the Classes to seek redress for the violations of
  28   law alleged herein.

                                                  21                         Case No. 2:24-cv-00449
                                        CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 24 of 32 Page ID #:24



   1         112. Additionally, the Classes may be certified under Rule 23(b)(1) and/or
   2   (b)(2) because:
   3               g.    The prosecution of separate actions by individual Class members
   4                     would create a risk of inconsistent or varying adjudications with
   5                     respect to individual Class members that would establish
   6                     incompatible standards of conduct for Defendants;
   7               h.    The prosecution of separate actions by individual Class members
   8                     would create a risk of adjudications with respect to them which
   9                     would, as a practical matter, be dispositive of the interests of other
  10                     Class members not parties to the adjudication, or substantially
  11                     impair or impede their ability to protect their interests; and/or
  12               i.    Defendants have acted or refused to act on grounds generally
  13                     applicable to the Classes, thereby making appropriate final and
  14                     injunctive relief with respect to the Class members as a whole.
  15                                ANTITRUST INJURY
  16         113. Defendants’ anticompetitive agreements and conduct have had the
  17   following effects, among others:
  18               j.    Sellers of residential property have been forced to pay inflated
  19                     costs to sell their homes through forced payments of commissions
  20                     to buyer brokers;
  21               k.    Home sellers have been faced with the fear of steering, such that
  22                     they set buyer broker commissions to induce buyer brokers to
  23                     show the sellers’ homes to prospective buyers;
  24               l.    Price competition has been restrained among brokers seeking to
  25                     be retained by home buyers, and by brokers seeking to represent
  26                     home sellers; and
  27               m.    Defendants and their franchisees and subsidiaries have inflated
  28                     their profits by a significant margin by the increased total

                                               22                          Case No. 2:24-cv-00449
                                     CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 25 of 32 Page ID #:25



   1                      commissions and increased buyer broker commissions.
   2         114. By reason of the alleged violations of the antitrust laws, Plaintiffs and
   3   the Classes have sustained injury to their businesses or property, having paid higher
   4   total commissions than they would have paid in the absence of Defendants’
   5   anticompetitive conspiracy, and as a result have suffered damages.
   6         115. There are no pro-competitive effects of Defendants’ conspiracy that are
   7   not substantially outweighed by the conspiracy’s anticompetitive effects.
   8         116. Significant economic evidence supports concluding that Defendants’
   9   conspiracy has resulted in Class members paying buyer broker commissions and total
  10   commissions that have been inflated to a supra-competitive level.
  11         117. This is an antitrust injury of the type that the antitrust laws were meant
  12   to punish and prevent.
  13                                 CAUSES OF ACTION
  14                                       COUNT 1
                   Violation of Section 1 of the Sherman Act, 15 U.S.C. § 1
  15
  16         118. Plaintiffs repeat and incorporate by reference each paragraph above and
  17   in any other count of this Complaint.
  18         119. Plaintiff Fierro brings this action on behalf of himself and the Los
  19   Angeles County Class against Defendants NAR, The Agency, Compass, eXp, eXp
  20   California, eXp SoCal, eXp Los Angeles, Berkshire Hathaway, BHHS, First Team,
  21   Rodeo Realty, Pinnacle, CRMLS, CLAW, California AOR, Los Angeles AOR,
  22   Arcadia AOR, Burbank AOR, Citrus Valley AOR, Glendale AOR, Inglewood BOR,
  23   Montebello AOR, Palos Verdes AOR, Pasadena AOR, Rancho AOR, South Bay
  24   AOR, Southland Regional AOR, Tri-Counties AOR, San Gabriel AOR, Malibu
  25   AOR, and Southwest Los Angeles AOR.
  26         120. Plaintiff Thurber brings this action on behalf of himself and the Central
  27   Counties Class against Defendants NAR, CRMLS, The Agency, Compass, eXp, eXp
  28   California, eXp NorCal, Berkshire Hathaway, BHHS, Fresno AOR, Madera AOR,

                                               23                          Case No. 2:24-cv-00449
                                     CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 26 of 32 Page ID #:26



   1   Merced AOR, and Mariposa BOR.
   2         121. Beginning more than four years before the filing of this Complaint, and
   3   continuing into the present, Defendants engaged in a continuing contract,
   4   combination, or conspiracy to unreasonably restrain interstate trade and commerce in
   5   violation of Section 1 of the Sherman Act, 15 U.S.C § 1.
   6         122. The conspiracy alleged herein consists of a continuing agreement
   7   among Defendants and Defendants’ co-conspirators to require sellers of residential
   8   property to make inflated payments to the buyer broker.
   9         123. In furtherance of the contract, combination, or conspiracy, Defendants
  10   and their co-conspirators have committed one or more of the following overt acts:
  11                n.    Participated in the creation, maintenance, re-publication, and
  12                      implementation of the Mandatory Offer of Compensation Rule
  13                      and other anticompetitive NAR rules;
  14                o.    Participated    in     the   establishment,      maintenance,        and
  15                      implementation of rules by local NAR associations and MLSs that
  16                      implemented the Mandatory Offer of Compensation Rule and
  17                      other anticompetitive NAR rules; and
  18                p.    Requiring franchisees of Defendants and others to implement the
  19                      Mandatory      Offer    of    Compensation       Rule      and     other
  20                      anticompetitive NAR rules, which each Defendant does through
  21                      its franchise agreements, policy manuals, and other contracts with
  22                      its franchisees, affiliates, subsidiaries, and realtors.
  23         124. Defendants’ conspiracy has required sellers to pay buyer brokers, to pay
  24   an inflated buyer broker commission and an inflated total commission, and it has
  25   restrained price competition among buyer brokers. This harm to competition
  26   substantially outweighs any competitive benefits arising from the conspiracy.
  27         125. Defendants’ conspiracy has caused buyer broker commissions and total
  28   commissions to be inflated. Plaintiffs and the other members of the Classes paid these
                                                24                           Case No. 2:24-cv-00449
                                      CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 27 of 32 Page ID #:27



   1   inflated commissions during (and before) the last four years in connection with the
   2   sale of residential real estate. Absent Defendants’ conspiracy, Plaintiffs and the other
   3   Class members would have paid substantially lower commissions because the broker
   4   representing the buyer of their homes would have been paid by the buyer.
   5         126. Defendants’ conspiracy is a per se violation under the federal antitrust
   6   laws, specifically 15 U.S.C. § 1.
   7         127. In the alternative, Defendants’ conspiracy is illegal under the federal
   8   antitrust laws and violates 15 U.S.C. § 1 under a rule-of-reason analysis.
   9         128. As a direct and proximate result of Defendants’ past and continuing
  10   violation of Section 1 of the Sherman Act, 15 U.S.C. § 1, Plaintiffs and the other
  11   Class members have been injured in their business and property and suffered
  12   damages in an amount to be proven at trial.
  13                                      COUNT 2
  14     Violation of the Cartwright Act, California Business & Professions Code §§
                                       16720 et. seq.
  15         129. Plaintiffs repeat and incorporate by reference each paragraph above and
  16   in any other count of this Complaint.
  17         130. Plaintiff Fierro brings this action on behalf of himself and the Los
  18   Angeles County Class against Defendants NAR, The Agency, Compass, eXp, eXp
  19   California, eXp SoCal, eXp Los Angeles, Berkshire Hathaway, BHHS, First Team,
  20   Rodeo Realty, Pinnacle, CRMLS, CLAW, California AOR, Los Angeles AOR,
  21   Arcadia AOR, Burbank AOR, Citrus Valley AOR, Glendale AOR, Inglewood BOR,
  22   Montebello AOR, Palos Verdes AOR, Pasadena AOR, Rancho AOR, South Bay
  23   AOR, Southland Regional AOR, Tri-Counties AOR, San Gabriel AOR, Malibu
  24   AOR, and Southwest Los Angeles AOR.
  25         131. Plaintiff Thurber brings this action on behalf of himself and the Central
  26   Counties Class against Defendants NAR, CRMLS, The Agency, Compass, eXp, eXp
  27   California, eXp NorCal, Berkshire Hathaway, BHHS, Fresno AOR, Madera AOR,
  28   Merced AOR, and Mariposa BOR.
                                                25                         Case No. 2:24-cv-00449
                                      CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 28 of 32 Page ID #:28



   1            132. Defendants’ conduct constitutes and continues to be an unreasonable
   2   restraint of trade of commerce in violation of the Cartwright Act, California Business
   3   & Professions Code §§ 16720 et. seq.
   4            133. Defendants have unlawfully restrained competition by adopting the
   5   Mandatory Offer of Compensation Rule.
   6            134. By adopting and implementing the Mandatory Offer of Compensation
   7   Rule, Defendants unlawfully restrain trade by causing sellers of homes to pay inflated
   8   commissions, requiring sellers of homes to pay a cost that, in a competitive market,
   9   would be paid by the home seller, and preventing home buyers or their brokers to
  10   reduce brokers’ commissions by making that reduction conditional of a purchase
  11   offer.
  12            135. Defendants’ unlawful restraint of trade has caused and continues to
  13   cause buyer-broker commissions and total commissions paid by home sellers in Los
  14   Angeles and Central Counties to be higher than they would have been but for the
  15   conspiracy, and thus substantially affects California commerce. Plaintiffs and Class
  16   Members paid these inflated commissions in connection with the sale of residential
  17   real estate listed on MLSs in Los Angeles County and Central Counties.
  18            136. The anticompetitive effects of Defendants’ conduct outweighs any
  19   procompetitive justification.
  20            137. Plaintiffs and Class members have suffered injury and lost money
  21   because of Defendants’ violations of law and wrongful conduct, for which they seek
  22   damages, including treble damages where appropriate, including pre-judgment
  23   interest.
  24            138. Defendants’ conduct is continuing and unless equitable relief is granted,
  25   inflated commission rates will continue and cause harm.
  26                                      COUNT 3
        Violation of the California’s Unfair Competition Law, California Business &
  27                          Professions Code §§ 17200 et. seq.
  28            139. Plaintiffs repeat and incorporate by reference each paragraph above and
                                                  26                       Case No. 2:24-cv-00449
                                        CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 29 of 32 Page ID #:29



   1   in any other count of this Complaint.
   2         140. Plaintiff Fierro brings this action on behalf of himself and the Los
   3   Angeles County Class against Defendants NAR, The Agency, Compass, eXp, eXp
   4   California, eXp SoCal, eXp Los Angeles, Berkshire Hathaway, BHHS, First Team,
   5   Rodeo Realty, Pinnacle, CRMLS, CLAW, California AOR, Los Angeles AOR,
   6   Arcadia AOR, Burbank AOR, Citrus Valley AOR, Glendale AOR, Inglewood BOR,
   7   Montebello AOR, Palos Verdes AOR, Pasadena AOR, Rancho AOR, South Bay
   8   AOR, Southland Regional AOR, Tri-Counties AOR, San Gabriel AOR, Malibu
   9   AOR, and Southwest Los Angeles AOR.
  10         141. Plaintiff Thurber brings this action on behalf of himself and the Central
  11   Counties Class against Defendants NAR, CRMLS, The Agency, Compass, eXp, eXp
  12   California, eXp NorCal, Berkshire Hathaway, BHHS, Fresno AOR, Madera AOR,
  13   Merced AOR, and Mariposa BOR.
  14         142. Plaintiffs, the members of the Classes, and Defendant are a “person” or
  15   “persons,” within the meaning of Section 17201 of the California Unfair Competition
  16   Law (“UCL”).
  17         143. Defendants have engaged in unfair competition within the meaning of
  18   California Business & Professions Code section 17200, et seq., because Defendant’s
  19   conduct, as described herein, violated the California Cartwright Act and the Sherman
  20   Antitrust Act.
  21         144. Thus, Defendants violated the UCL’s unlawful and unfair prongs.
  22         145. Additionally, these unfair acts and practices were immoral unethical,
  23   oppressive, unscrupulous, unconscionable, and/or substantially injurious to Plaintiffs
  24   and Class members. Defendants’ practices were also contrary to legislatively
  25   declared and public policies.
  26         146. Plaintiffs have standing to pursue this claim because they have been
  27   injured by virtue of the wrongful conduct alleged herein.
  28         147. The Unfair Competition Law is, by its express terms, a cumulative
                                                 27                       Case No. 2:24-cv-00449
                                       CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 30 of 32 Page ID #:30



   1   remedy, such that remedies under its provisions can be awarded in addition to those
   2   provided under separate statutory schemes and/or common law remedies, such as
   3   those alleged in the other Counts of this Complaint. See Cal. Bus. & Prof. Code §
   4   17205.
   5         148. As a direct and proximate cause of Defendants’ conduct, which
   6   constitutes unlawful and unfair business practices as alleged herein, Plaintiffs and
   7   Class Members have been damaged and suffered ascertainable losses.
   8         149. Plaintiffs and Class members are thereby entitled to recover restitution
   9   and equitable relief, including disgorgement or ill-gotten gains, refunds of moneys,
  10   interest, reasonable attorneys’ fees, filing fees, and the costs of prosecuting this class
  11   action, as well as any and all other relief that may be available at law or equity.
  12                                      JURY DEMAND
  13         Plaintiffs, on behalf of themselves and all others similarly situated, hereby
  14   demand a jury trial of all issues so triable.
  15                                  PRAYER FOR RELIEF
  16         WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly
  17   situated, request relief and pray for judgment against Defendants as follows:
  18         a.     An Order certifying the Class under the appropriate provisions of Rule
  19                23 of the Federal Rule of Civil Procedure, and appointing Plaintiff
  20                Fierro to represent the Los Angeles County Class, Plaintiff Thurber to
  21                represent the Central Counties Class, and their counsel to represent the
  22                Classes;
  23         b.     Declarations that the actions of Defendants, as set forth above, are
  24                unlawful;
  25         c.     A permanent injunction under Section 16 of the Clayton Act enjoining
  26                Defendants from (1) requiring that sellers pay the buyer broker, (2)
  27                continuing to restrict competition among buyer brokers and seller
  28                brokers, and (3) engaging in any conduct determined to be unlawful;

                                                 28                          Case No. 2:24-cv-00449
                                       CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 31 of 32 Page ID #:31



   1        d.    Appropriate injunctive and equitable relief;
   2        e.    An award to Plaintiffs and the other members of the Classes for damages
   3              and/or restitution in an amount to be determined at trial;
   4        f.    An award of pre- and post-judgment interest to Plaintiffs;
   5        g.    An award to Plaintiffs for their costs of suit, including reasonable
   6              attorneys’ fees and expenses;
   7        h.    An award of such other relief as the Court may deem just and proper.
   8                                   Respectfully submitted,
   9    DATED: January 17, 2024        KAPLAN FOX & KILSHEIMER LLP
  10                                   By: /s/ Matthew B. George
                                               Matthew B. George
  11
                                       Matthew B. George (SBN 239322)
  12                                   Blair E. Reed (SBN 316791)
                                       1999 Harrison Street, Suite 1560
  13                                   Oakland, CA 94612
                                       Telephone: 415-772-4700
  14                                   Facsimile: 415-772-4707
                                       Email: mgeorge@kaplanfox.com
  15                                           breed@kaplanfox.com
  16                                    KAPLAN FOX & KILSHEIMER LLP
                                        Frederic S. Fox (pro hac vice forthcoming)
  17                                    Jeffrey P. Campisi (pro hac vice forthcoming)
                                        Matthew P. McCahill (pro hac vice forthcoming)
  18                                    800 Third Avenue, 38th Floor
                                        New York, NY 10022
  19                                    Telephone: (212) 687-1980
                                        Facsimile: (212) 687-7714
  20                                    Email: ffox@kaplanfox.com
                                               jcampisi@kaplanfox.com
  21                                           mmccahill@kaplanfox.com
  22                                    KAPLAN FOX & KILSHEIMER LLP
                                        Justin B. Farar (SBN 211556)
  23                                    12400 Wilshire Boulevard, Suite 460
                                        Los Angeles, CA 90025
  24                                    Telephone: 310-614-7260
                                        Facsimile: 310-614-7260
  25                                    Email: jfarar@kaplanfox.com
  26                                    THE PETTIT LAW FIRM
                                        Julie Pettit (pro hac vice forthcoming)
  27                                    David B. Urteago (pro hac vice forthcoming)
                                        2101 Cedar Springs, Suite 1540
  28                                    Dallas, Texas 75201
                                              29                        Case No. 2:24-cv-00449
                                    CLASS ACTION COMPLAINT
Case 2:24-cv-00449-MCS-BFM Document 1 Filed 01/17/24 Page 32 of 32 Page ID #:32



   1                                  Telephone: (214) 329-0151
                                      Facsimile: (214) 329-4076
   2                                  Email: jpettit@pettitfirm.com
                                            durteago@pettitfirm.com
   3
                                      LYNN PINKER HURST & SCHWEGMANN,
   4                                  LLP
                                      Michael K. Hurst (pro hac vice forthcoming)
   5                                  Chris Schwegmann (pro hac vice forthcoming)
                                      Yaman Dasai (pro hac vice forthcoming)
   6                                  2100 Ross Avenue, Suite 2700
                                      Dallas, Texas 75201
   7                                  Telephone: (214) 981-3800
                                      Facsimile: (214) 981-3839
   8                                  Email: mhurst@lynnllp.com
                                             cschwegmann@lynnllp.com
   9                                         ydesai@lynnllp.com
  10                                  Attorneys for Plaintiffs and the Proposed Classes
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                            30                      Case No. 2:24-cv-00449
                                  CLASS ACTION COMPLAINT
